Case 2:07-cr-00145-KJD-BNW             Document 1482         Filed 08/18/15     Page 1 of 2



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 7
 8                                UNITED STATES DISTRICT COURT
 9                                       DISTRICT OF NEVADA
10                                                  ***
11
      UNITED STATES OF AMERICA,                                   2:07-cr-145-KJD-PAL-9
12
                     Plaintiff,                              STIPULATION TO EXTEND
13                                                          DEADLINES IN THIS COURT’S
      vs.                                                     APRIL 8, 2015 ORDER BY
14                                                               SIXTY (60) DAYS
      KORY ALLEN CROSSMAN,
15
                     Defendant.
16
17          The United States of America, by Assistant United States Attorney Elizabeth Olson White,

18   and Defendant Kory Allen Crossman, by Assistant Federal Public Defender Nisha

19   Brooks-Whittington, submit the following Joint Stipulation to extend, by sixty (60) days, all of the

20   deadlines set in this Court's Order dated April 8, 2015. See CR 1475.

21          The parties agree and stipulate to the following:

22          1.      On November 26, 2008, this Court sentenced Defendant to 140 months' imprisonment

23   on his conviction for drug-related offenses. CR 437.

24          2.      On March 23, 2015, undersigned counsel filed a motion for appointment of counsel

25   pursuant to 18 U.S.C. § 3006A and Local Rule 44-1 on behalf of Mr. Crossman to determine

26   whether he may qualify to seek a reduction of his sentence in light of Guidelines Amendment 782

27   and 18 U.S.C. § 3582(c)(2). CR 1474.

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Case 2:07-cr-00145-KJD-BNW             Document 1482        Filed 08/18/15      Page 2 of 2



 1          3.      On April 8, 2015, this Court issued an Order appointing the Federal Public Defender
 2   to represent Defendant, and setting deadlines. Specifically, the Court ordered the Probation Office
 3   to provide certain documents to the parties within 30 days (i.e., by May 8, 2015) and ordered the
 4   Federal Public Defender to file any appropriate motion or stipulation within 120 days (i.e., by
 5   August 6, 2015). CR 1475.
 6          4.      The parties requested Mr. Crossman’s disciplinary hearing and progress report records
 7   from the Bureau of Prisons and to date they have not been received. Additional time is requested
 8   to receive and review those records prior to filing any motions with the Court.
 9          5.      For the reason stated above, the parties respectfully request that the Court issue an
10   order extending the deadlines in the Court's April 8, 2015 Order, by sixty (60) days.
11          DATED this 6th day of August, 2015.
12                                         Respectfully submitted,
13
14    RENE L. VALLADARES                                  DANIEL G. BOGDEN
      Federal Public Defender                             United States Attorney
15
      /s/ Nisha Brooks-Whittington                        /s/ Elizabeth O. White
16    ______________________________                      __________________________
      NISHA BROOKS-WHITTINGTON,                           ELIZABETH O. WHITE,
17    Assistant Federal Public Defender                   Appellate Chief and
                                                          Assistant United States Attorney
18
19
20    IT IS SO ORDERED.
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      ________________________________
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      KENT J. DAWSON, U.S. District Judge
23    August 17, 2015

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